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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SHANELL CORLEY,                               )
as mother and guardian of                     )
L.R., a minor,                                )
                                              )
               Plaintiff,                     )       No. 17-cv-7835
                                              )       Hon. Magistrate Judge Susan E. Cox
               v.                             )
                                              )
UNITED STATES OF AMERICA,                     )
                                              )
               Defendant.                     )

                     PLAINTIFF’S MOTION TO APPROVE SETTLEMENT
                       AND DISTRBUTION OF SETTLEMENT FUNDS

       Plaintiff, Shanell Corley, as mother of L.R., by and through her attorneys, Gainsberg Law,

P.C., moves this Court to approve the settlement and settlement distribution and, in support thereof,

states as follows:

       1.      Following a settlement conference before this Court on June 25, 2019, the parties

reached a settlement agreement of $70,000.00.

       2.      As discussed at the settlement conference, Plaintiff believes this amount is

reasonable and requests the Court to approve it.

       3.      Plaintiff’s attorneys request fees in the amount of $17,500.00, (25%) of the payment

by Defendant, United States of America.

       4.      Plaintiff’s attorneys request that this Court approve reimbursement of reasonable

and necessary litigation expenses incurred in this case in the amount of $76.11 as follows:

       Travel expenses for Plaintiff to attend the settlement conference,    $69.61

       Medical Records,                                                      $6.50
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        5.       Plaintiff has negotiated with two providers that hold Illinois Health Care Service

Liens, namely, Adult and Pediatric Orthopedics SC and Bright Light Medical Imaging.

        6.       Adult and Pediatric Orthopedics SC and treating physician, Dr. David Schafer’s

health care service lien is for two office visits and an evaluation and totals $745.00. This medical

provider has agreed to accept $400.00 to resolve its lien in its entirety.

        7.       Bright Light Medical Imaging’s health care service lien is for an MRI and X-Ray

of the minor’s leg and totals $3,200.00. This medical provider has agreed to accept $1,250.00 to

resolve its lien in its entirety.

        8.       Plaintiff has executed a trust to use the net settlement proceeds for the benefit and

welfare of the minor. (See Exhibit A, Irrevocable Trust for Settlement Proceeds, attached hereto).

Plaintiff requests that the net proceeds be paid to her as Trustee of the Irrevocable Trust.

        9.       Plaintiff requests the settlement proceeds be distributed as follows:
                 $70,000.00      (Gross settlement)
                 -$17,500.00 (Attorney’s fees)
                 -$76.11          (Expenses)
                 -$400.00        (Adult and Pediatric SC Lien)
                 -$1,250.00      (Bright Light Medical Imaging Lien)

                 $50,773.89         To be distributed to Shanell Corley as Trustee of the Irrevocable

        Trust for Settlement Proceeds.

        WHEREFORE, Plaintiff, Shanell Corley, as mother and guardian of L.R., a minor,

respectfully requests that this Court grant this Motion, approve the settlement reached between

the parties, approve the settlement distribution as set forth in this motion, and/or grant any other

relief this Court deems just and fair.
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                                      /s/ Neal S. Gainsberg
                                      Neal S. Gainsberg
                                      Attorney for Plaintiff




Neal S. Gainsberg, #6237117
Gainsberg Law, P.C.
22 West Washington St.
15th Floor
Chicago, IL 60602
(312) 600-9585
neal@gainsberglaw.com
